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                         DECLARATION OF JASON BALTIMORE

I, Jason Baltimore, under penalty of perjury, declare as follows:

       1.       I currently serve as General Counsel to the Architect of the Capitol (AOC). The

AOC is an agency of the legislative branch of the Federal government. The AOC is responsible

for the maintenance, preservation, and repair of the facilities and related grounds of the United

States Capitol and the surrounding legislative/judicial branch buildings (Capitol campus)

pursuant to 2 U.S.C. §§ 1811 – 1814.

       2.       I have been General Counsel since September 24, 2012. Prior to my current

position, I served in the U.S. Navy Judge Advocate General’s Corps.

       3.       As General Counsel, I oversee and manage a team of attorneys and legal staff in

advising the AOC on a myriad of relevant legal matters (to include Federal contract and

procurement law). The Office of General Counsel also represents the AOC in administrative

proceedings, prepares litigation reports to the Department of Justice (DoJ) in suits filed against

the AOC, and acts as agency liaison with DoJ attorneys.

       4.       On January 6, 2021, the Capitol campus sustained property damage to various

interior and exterior locations (property damage) due to the actions of unauthorized individuals.

       5.       The AOC is currently engaged in efforts to repair the property damage pursuant to

2 U.S.C. §1814.

       6.       The AOC develops an Independent Government Estimate (IGE) and Independent

Government Cost Estimate (IGCE) in its efforts to repair the property damage. An IGE/IGCE is

the Government’s estimate of costs that a contractor/recipient may incur in performing services

and/or providing supplies to achieve the Government’s objectives. It serves as the basis for

budgeting and reserving funds during acquisition planning, provides the basis for comparing
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costs or prices proposed by offerors/applicants, and serves as an objective basis for determining

price reasonableness in cases in which only one offeror/applicant responds to a solicitation. The

IGE/IGCE is the Government’s best estimate of a contract’s potential costs and are an important

tool throughout the process of planning and awarding services contracts.

       7.       The AOC prepared estimates reflecting costs required to repair and/or replace the

property damage (repair estimates) based upon its IGE/IGCE and contractor bid or proposal

information.

       8.       Access to the information concerning the AOC’s IGE/IGCE is protected from

disclosure and is limited to AOC personnel whose official duties require knowledge of the

estimate pursuant to Sections 2101 and 2102 of Title 41, United States Code; Section 3.104-1-11

of Title 48, Code of Federal Regulations (Procurement Integrity Act); Sections 36.203(c), 3.104-

1, 3.104-3(a), 3.104-4(b), 14.401, and 15.207 of the Federal Acquisition Regulation; Sections

1.11.2(a), 1.2, 8.4.2(b)(2), and 8.4.2(b)(3) of AOC Order 34-1 (Contracting Manual); and Section

C.19.4.1 of AOC Order 38-1 (Government Ethics).

       9.       The restrictions regarding unauthorized and improper disclosure of the AOC’s

repair estimates are integral to maintaining the equity and fairness of the Government

procurement process, and avoids unfair advantages to offerors/applicants. The protections are so

integral to the process that violators may incur civil and criminal penalties, and the procurement

actions themselves may suffer administrative remedies to include delaying or canceling

procurement actions.

       10.      DoJ, through the Assistant United States Attorney (AUSA) office, is prosecuting

numerous criminal cases against individuals accused of participating in the events of January 6,




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2021 and causing such property damage. The cases are being prosecuted in the United States

District Court for the District of Columbia (Court).

       11.     DoJ has requested repair estimates from the AOC to satisfy compliance with rules

of discovery in the pending cases.

       12.     Although the repair estimates are protected, the AOC is providing the DoJ/AUSA

the requested information with an understanding that the Court Order Governing Discovery

(Protective Order) will protect the unauthorized use, storage, handling, dissemination, and

reproduction of the AOC’s repair estimates. In addition, it is the AOC’s understanding that the

Protective Order will protect the AOC’s repair estimates from unsupervised examination and

distribution or release outside the “Legal Defense Team” as defined in Attachment 1. The AOC’s

repair estimates will be marked as “HIGHLY SENSITIVE” to maintain the restrictions provided

for in Attachment 1 as agreed upon by the DoJ/AUSA.

       I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge and belief.


       Executed this 7th day of May, 2021.


                                                       _________________________________
                                                       JASON BALTIMORE
                                                       General Counsel
                                                       Architect of the Capitol




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